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     Acting Federal Defender
2    801 I Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 498-5700
4
5    Attorney for Defendant
     CARLO MIRELES
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     NO. CR S 03-535-DFL
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION RELEASING DEFENDANT
14        v.                         )     FROM PRE-SENTENCE CUSTODY UPON
                                     )     PREVIOUSLY-IMPOSED CONDITIONS OF
15   CARLO MIRELES,                  )     RELEASE; PROPOSED ORDER
                                     )
16                  Defendant.       )
                                     )     Judge: Hon. David F. Levi
17   _______________________________ )
18
19
          Defendant Carlo Mireles pleaded guilty on February 12, 2004.            Mr.
20
     Mireles has cooperated with the United States by participating in
21
     debriefings and by assisting in the return of property obtained by
22
     proceeds derived from the activities underlying this case.            Between
23
     December 22, 2003, and September 8, 2005, Mr. Mireles was out of
24
     custody and supervised by the Pretrial Services office without
25
     incident.   In anticipation of his co-defendant Scott Poll’s trial, to
26
     make himself available for pre-trial preparation, and to begin service
27
     of an anticipated sentence, Mr. Mireles voluntarily surrendered to
28
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1    custody in the Eastern District on September 8, 2005.            Mr. Poll
2    subsequently decided to plead guilty.         However, his sentencing has been
3    postponed several times.      The current date for sentencing is August 3,
4    2006.     During this time, Mr. Mireles has remained in the Sacramento
5    County Jail.
6         Mr. Mireles hopes to receive a motion from the government for a
7    reduction in his sentence under §5K of the Sentencing Guidelines.            Both
8    the government’s attorney and Mr. Mireles’s attorney desire that this
9    potential motion be made after Mr. Poll is sentenced.            Thus, Mr.
10   Mireles's sentencing has been postponed indefinitely.
11        Because Mr. Mireles does not pose a flight risk or a danger to the
12   community if released and because there is no reason why the government
13   should continue to expend funds housing Mr. Mireles for an indefinite
14   period of time, the parties have agreed that he can and should be
15   released from detention pending sentencing.          Counsel for Mr. Mireles
16   has conferred with Pre-trial Services officers Sandra Hall and Robert
17   Duncan, who concur with the decision to return Mr. Mireles to pre-trial
18   supervision.    The parties stipulate and agree, therefore, that a
19   release order should issue forthwith from the court, ordering Mr.
20   Mireles’s release from detention upon his personal recognizance and
21   upon the following previously-imposed conditions of release:
22        1.    Defendant Mireles may remain on release from custody
23        pending sentencing in this matter.
24        2.    Defendant Mireles shall remain subject to supervision by
25        the Pretrial Services Office.
26        3.    Defendant shall reside with his parents, his wife, and
27        child at 87-336 Kaohe Road, Captain Cook, Hawaii 96704, and
28        shall not change his residence without the express permission


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1         of Pretrial Services.
2         4.    Defendant may travel only within the Eastern District of
3         California and the District of Hawaii.           He may travel outside
4         of these districts only with the express permission of
5         Pretrial Services.
6         5.    Defendant understands his obligations under the plea
7         agreement to continue cooperating with the government and to
8         continue making himself available for further debriefings or
9         testimony, if necessary.        By changing his residence to
10        Hawaii, defendant Mireles agrees to assume responsibility to
11        pay any increase in transportation costs above the costs the
12        government would normally have for transporting him from his
13        prior residence, for further debriefings, testimony, or
14        sentencing.
15        6.    All previously-imposed conditions of release shall remain in
16         effect.     Pretrial Services shall advise the Court and the parties
17         if it believes any other conditions are appropriate to
18   effectively supervise defendant Mireles and assure his presence
19   at all future proceedings.
20        7.    This order shall be served upon the Pretrial Services
21        office for the Eastern District of California and the
22        District of Hawaii and the parties.
23   Dated:    May 19, 2006                    Respectfully submitted,
24   McGREGOR W. SCOTT
     United States Attorney
25
26   /s/ Daniel Broderick for                  /s/ Daniel J. Broderick
     S. ROBERT TICE-RASKIN                     DANIEL J. BRODERICK
27   Assistant U.S. Attorney                   Acting Federal Defender
     Attorneys for Plaintiff                   Attorney for Defendant
28                                             CARLO MIRELES


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1
2
3                       IN THE UNITED STATES DISTRICT COURT
4                     FOR THE EASTERN DISTRICT OF CALIFORNIA
5
6
7    UNITED STATES OF AMERICA,       ) NO. CR S 03-535-DFL
                                     )
8                   Plaintiff,       )
                                     ) ORDER MODIFYING CONDITIONS OF
9         v.                         ) RELEASE
                                     )
10   CARLO MIRELES,                  )
                                     )
11                  Defendant.       )
                                     )
12   _______________________________ )
13
14        Pursuant to the stipulation of the parties, filed on May 19, 2006,
15   and for the reasons stated therein, IT IS HEREBY ORDERED that
16   Carlo Mireles shall forthwith be released from custody upon his
17   personal recognizance and upon the following conditions of release:
18        1.   Defendant Mireles may remain on release from custody
19        pending sentencing in this matter.
20        2.   Defendant Mireles shall remain subject to supervision by
21        the Pretrial Services Office.
22        3.   Defendant shall reside with his parents, his wife, and
23        child at 87-336 Kaohe Road, Captain Cook, Hawaii 96704, and
24        shall not change his residence without the express permission
25        of Pretrial Services.
26        4.   Defendant may travel only within the Eastern District of
27        California and the District of Hawaii.        He may travel outside
28        of these districts only with the express permission of


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1         Pretrial Services.
2         5. Defendant Mireles shall be responsible for paying any
3         increase in transportation costs above the costs the
4         government would normally have for transporting him from his
5         prior residence, for further debriefings, testimony, or
6         sentencing.
7         6.   All previously-imposed conditions of release shall remain
8         in effect.    Pretrial Services shall advise the Court and the
9         parties if it believes any other conditions are appropriate
10        to effectively supervise defendant Mireles and assure his
11        presence at all future proceedings.
12        7.   This order shall be served upon the Pretrial Services
13        office for the Eastern District of California and the
14        District of Hawaii and the parties.
15        DEFENDANT IS FURTHER ADVISED that he shall appear on time at all
16   proceedings as required and shall surrender for service of any sentence
17   imposed as directed.    It is a criminal offense under Title 18 U.S.C.
18   §3146, if, after having been released, the defendant knowingly fails to
19   appear as required by the conditions of release, and any term of
20   imprisonment imposed for failure to appear or surrender shall be
21   consecutive to any sentence imposed for any other offense.
22
23   Dated: May 22, 2006
24
25
26                                              DAVID F. LEVI
27                                              United States District Judge

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